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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 XIONGEN JIAO, an individual, QIANJI
 JIAO, an individual, ZHONGHUA YI, an
 individual,   PENGFEI    ZHOU,      an
 individual, XUAMEI ZHOU, an individual,

  Plaintiffs,

 vs.
                                                   Case No.: 4:19-CV-01848
 NINGBO XU, an individual, and LCL
 COMPANY, LLC, a Texas Limited                     Judge: Hon. Keith P. Ellison
 Liability Company,

  Defendants,

 and

 DONGTAI INVESTMENT GROUP, LLC,
 a Texas Limited Liability Company,

  Nominal Defendant.


                AMENDED AGREED MOTION FOR DISBURSEMENT OF FUNDS
        Ronald J. Sommers, Receiver in the above-styled case, files this Agreed Motion for

Disbursement of Funds (the “Motion to Disburse”), and in support thereof shows the Court as

follows:

        1.       On December 16, 2019, Dongtai Investment Group, LLC (hereinafter “DIG”) was

placed into receivership and Michael Udayan was appointed Receiver. As a result of Michael

Udayan’s death, Ronald J. Sommers was appointed Receiver on July 1, 2022.

        2.       The Receiver presently has $1,662,799.70 in the receivership estate. Receiver’s

First Interim Report summarizing the status of this case has been filed concurrently herewith.
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         3.       The Receiver has previously paid $31,897.76 to the following entities during the

pendency of the Receivership, for which the Receiver seeks the Court’s ratification:

                                 PAYEE                                                      AMOUNT

 United States Treasury                                                                                      $129.00

 United States Treasury                                                                                      $172.00

 United States Treasury                                                                                      $301.00

 United States Treasury                                                                                      $344.00

 Proactive Legal Solutions                                                                                   $135.00

 Proactive Legal Solutions                                                                                    $85.00

 Fidelity National Financial, Inc.                                                                           $285.32

 United States Treasury                                                                                    $5,040.00

 TPS-West, LLC (Accountant Fees)                                                                         $25,406.44

 TOTAL                                                                                                   $31,897.76



         4.       There is sufficient money in the receivership to make interim disbursements

through May 31, 2023, to counsel for Receiver, Nathan Sommers Jacobs (“NSJ”), and to TPS-

West, LLC (“TW”), 1 accountants for Receiver, in the respective amounts of $79,610.20 and

$6,1178.51. 2 Additionally, the Receiver requests a disbursement of $49,734.94 for his fees and

expenses. True and correct copies of the respective invoices are attached as Exhibits 1, 2, and 3

respectively.


1 The Receiver has already made a distribution to TW of $25,406.44 for its professional fees. The fees requested
herein are for work following that distribution.
2 As reflected on NSJ’s invoice, it has proactively reviewed its bill to eliminate arguably non-essential or non-billable
work, which has resulted in a more than $7,500 reduction in its invoice.

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         5.    On February 28, 2023, the Court entered its Order establishing claim objection

procedures in this matter.       (Dkt. 193).   Pursuant to the Order, the Court required that any

interested party file a written objection to any claim by March 30, 2023.      (Id. at 2).   The Order

further required that any entity having a claim to which an objection had been lodged to file a

response, if any, to the claim objection by April 29, 2023.      (Id.).

         6.    As of this date, one claim objection, the Receiver’s Objection to Claim No. 12 of

Hewlett-Packard Financial Services, has been resolved by agreement of the parties for an allowed

claim of $9,000, subject to approval of the Court.      Objections were filed to Claim No. 8 of United

Air Services and Claim No. 9 of the Estate of Michael S. Udayan, to which the respective claimants

did not file a response.   The Receiver has filed a Notice and Request to Sustain the Objections to

these claims, subject to approval of the Court.    (Dkt. 215).    Following the Court’s sustaining of

those objections, objections to two claims—Claim No. 6 of Peter Hui and Hospitality Unlimited

Investments, Inc. and Claim No. 10 of Property Care Services, Inc.—will remain pending.           The

below chart summarizes the proofs of claim that have been filed in this case.

  Claim                                   Original            Agreed Claim          Related Claim
   No.             Claimant              Claim Amt.             Amount             Objection filings
     1             Qianju Jiao           $157,250.00            $157,250.00

     2             Jiatong Yu            $227,250.00            $227,250.00

     3           Xuanmei Zhou             $328,250.00           $328,250.00

               Zhonghong Group
     4                                    $180,000.00           $180,000.00
                  USA Inc.

     5             Natura A-R             $11,967.56             $11,967.56




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  Claim                                       Original              Agreed Claim              Related Claim
   No.               Claimant                Claim Amt.               Amount                 Objection filings
                     Peter Hui &                                  Undetermined and           Dkt. 199, 202, 210,
      6                                       $122,302.87
                     Hospitality                                      disputed                      218

      7              Sedgwick 3                  $0.00                   $0.00

      8          United Air Services          $22,680.00                 $0.00                  Dkt. 196, 204

                 Estate of Michael S.
      9                                      $1,197,190.60               $0.00                  Dkt. 203, 205
                       Udayan


               Property Care Services                             Undetermined and           Dkt. 201, 206, 211,
     10                                       $153,823.00
                        LLC                                           disputed                    219, 220


                 Symmetry Energy
     11                                       $11,538.27              $11,538.27
                  Solutions, LLC

                  Hewlett Packard                                                            Dkt. 197, 213, 217,
     12                                       $17,629.11               $9,000.00
                 Financial Services                                                                 221

               TOTAL                                                  $925,255.83




          7.     Sufficient funds exist to pay the unobjected and allowed Proofs of Claim (Claims

No. 1, 2, 3, 4, 5, 11, and 12) in full. Payment of these seven claims in full ($925,255.83) will still

result in sufficient assets remaining in the receivership to pay Claim Nos. 6 and 10, even if the

objections to these claims are ultimately denied in full. 4

          8.     Should this Court grant that Motion as requested, DIG’s receivership account shall

be as follows:




3 Although Sedgwick filed Proof of Claim No. 7, it was for a $0.00 amount and will not require issuance of payment.
4 Claims No. 6 and 10 total $276,125.87.

                                                         4
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                                                                             AMOUNT

    Receivership account balance                                                               $1,694,697.46

    Expenses paid during course of Receivership                                                    $31,897.76
    by Receiver:
    Receiver’s counsel fees and expenses through                                                   $79,610.20
    May 31, 2023
    TPS-West LLC accountants             fees    and                                                $6,178.51
    expenses through May 31, 2023
    Receiver’s fees and expenses through May                                                       $49,734.94
    31, 2023
    Allowed Claims                                                                               $925,255.83
    Remaining Balance                                                                            $602,020.22


          9.     The Receiver anticipates that the following work will remain following the payment

of these claims: litigation, resolution and/or payment of the claim objections to Claim Nos. 6 and

10; 5 an assignment of the Judgment, Orders and any remaining claims that DIG has against

Ningbo Xu and LCL Company, LLC to the remaining members of DIG; dissolution of the DIG

entity; filing an income tax return for calendar year 2023; and distribution of any surplus to the

members of DIG. Receiver believes that, even following the distributions identified in this

Motion for Disbursement of Funds, the remaining assets should be sufficient to cover the costs of

this work, including any final fee applications for the Receiver and his professionals.

                                                 Conclusion

          The Receiver respectfully requests that the Court ratify the payments made by the Receiver



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 On June 21, 2022, the Receiver mediated Claim No. 10 and reached a mediated resolution for an allowed claim of
$60,000. The Receiver has filed Agreed Order resolving that claim objection.

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during the pendency of this receivership. The Receiver further requests the Court issue an order

directing the Receiver to pay to NSJ an amount of $79,610.20, TW an amount of $6,178.51, and

an order permitting the Receiver to pay to the Receiver his fees and expenses in the amount of

$49,734.94. The Receiver further requests that the Court issue an order directing the Receiver to

pay allowed Claims No. 1, 2, 3, 4, 5, 11, and 12 in the full amount of the allowed claim for each

and as directed by the Court, and for the Court to grant such further relief to which he is justly

entitled.

                             CERTIFICATE OF CONFERENCE

        Undersigned counsel conferred with counsel for Plaintiffs, who are unopposed to the

relief requested herein.

                                             Respectfully Submitted,

                                             NATHAN SOMMERS JACOBS
                                             A PROFESSIONAL CORPORATION

                                             By: /s/ Iain L. C. Kennedy
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                                             RECIEVER



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                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on June 22, 2023, a true and correct copy of the foregoing
was served electronically on all parties registered to receive electronic notice of filings in this case
via this Court’s ECF notification system. The undersigned further certifies that the foregoing was
served upon all parties listed below no later than the next day after the filing of the foregoing.

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 Natura A-R                                        Estate of Michael Udayan
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 Peter Hui & Hospitality Unlimited                 Property Care Services LLC
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                                                         __/s/ Iain L.C. Kennedy
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